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                       IN THE UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                 ORLANDO DIVISION


IGLESIA DE DIOS PENTECOSTAL
MOVIMIENTO INTERNACIONAL INC.,

       Plaintiff,                                  Case No.: 6:18-cv-1345-Orl-40TBS

v.

EVANSTON INSURANCE COMPANY,

     Defendant.
_______________________________/


                    DEFENDANT EVANSTON INSURANCE COMPANY’S
                     RESPONSE TO ORDER TO SHOW CAUSE (D.E. 6)

       Defendant Evanston Insurance Company (“Evanston”), by and through its

undersigned counsel, files this Response to the Court’s Order to Show Cause stating

states why the case should not be remanded to State Court and in support thereof

states as follows:

       1.      In its Order to Show Cause, the Court questioned whether it has original

jurisdiction pursuant to 28 U.S.C. § 1332, because the Notice of Removal did not allege

the location of Plaintiff’s principal place of business.

       2.      The Court should not remand this case for lack of jurisdiction because the

parties are completely diverse and, as stated in the Notice of Removal, the amount in

controversy exceeds $75,000.00 in accordance with section 1332 of Chapter 28 of the

United States Code.




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       3.     Pursuant to section 1332(c)(1) of Chapter 28, a corporation is a citizen of:

(1) its state of incorporation; and (2) the state where it has its principal place of

business. See 28 U.S.C. 1332(c)(1).

       4.     In support of its Notice of Removal (Doc. 1), Evanston attached an

Affidavit. See Doc. 1-2. Paragraph 4 of the Affidavit speaks to Plaintiff’s citizenship and

states that “[a]ccording to the records maintained by the State of Florida, Plaintiff is

incorporated under the laws of the state of Florida and its principal place of business is

also located in Florida.” Doc. 1-2, ¶4.

       5.     The records to which the undersigned refers in its Affidavit (D.E. 1-2) are

the 2018 Florida Not for Profit Corporation Annual Report and the 2017 Florida Not for

Profit Corporation Annual Report that Plaintiff filed with Florida’s Secretary of State.

See Composite Exhibit A.         Both of these records state that Plaintiff is a Florida

corporation and list the address of its principal place of business as 12621 Balcombe

Rd., Orlando, Florida 32837. See Composite Exhibit A.

       6.     In its Complaint, Plaintiff alleged that it “was and is a resident of Miami-

Dade County, Florida,” Plaintiff’s Complaint (Doc. 1-1), ¶3, and also that Plaintiff’s

“residence” is “located at 1122 KENTUCKY AVE, ST CLOUD, FL 347869.” Plaintiff’s

Complaint (Doc. 1-1), ¶ 4.

       7.     Therefore, Plaintiff is a citizen of the state of Florida within its state of

incorporation and principal place of business in Florida, Evanston is a citizen of the

state of Illinois with its state of incorporation and principal place of business in Illinois,

and, thus, complete diversity exists between the parties.




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       8.      Accordingly, since Evanston has sufficiently demonstrated that complete

diversity exists between the parties and the requirements of 28 U.S.C. § 1332 are

satisfied, this Court should retain jurisdiction of the captioned action.

       WHEREFORE, EVANSTON INSURANCE COMPANY requests that this Court

retain jurisdiction of this action, and for such other and further relief as this Court deems

appropriate.




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                              CERTIFICATE OF SERVICE

       I hereby certify that on September 4, 2018, I electronically filed the foregoing with
the Clerk of the Court by using the CM/ECF system, which will send a notice of
electronic filing to:

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